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                 EXHIBIT 6
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          A law firm built to win




                                            04 Who we are


                                            12   What we do


                                            14   How we do it


                                            26 Our reputation


                                            34 Case studies
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                   Dovel & Luner is a plaintiff’s firm
                   that litigates high-stakes cases
                     in courts across the country.




                     We work on contingency and
                      are paid only for success.




2 |
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    We win trials                        We get big settlements




                                                                   | 3
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Who we are




        Greg Dovel
         greg@dovel.com




Twenty-five years ago, Greg gave up his partnership at a
name-brand firm to create a firm dedicated at its core to
training excellent lawyers to win cases. He wanted to build
a firm that would not bill hours and would only be paid for
success—a firm that was built to win cases.

Greg’s cross-examinations suck the air from the courtroom,
demoralize opposing lawyers, and win cases. In court, it
feels like magic. But magic has nothing to do with it. Greg’s
crosses are the result of thousands of hours spent practicing
his trial skills and teaching others to do the same. None of
those hours were billable. This could only be done at a firm       • Law clerk to Supreme Court
like Dovel & Luner.                                                  Justice Antonin Scalia (1987-88)
For an example of one of Greg’s crosses, turn to page 21.          • Law clerk to Ninth Circuit
                                                                     Judge J. Clifford Wallace (1986-87)
                                                                   • Harvard Law School
                                                                     (J.D., magna cum laude, 1986)
                                                                   • Central Washington State University
                                                                     (B.A., summa cum laude, 1983)




                                  “When you’re not practicing, someone
                              somewhere is. And when the two of you meet,
                                 the other person will win.” – Bill Bradley




4 | Who we are
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        Sean Luner
         sean@dovel.com




Sean is an expert in persuasion. He has been hired as a trial
consultant to prepare opening statements and closing arguments
in more than 100 trials by law firms such as O’Melveny & Myers,
Irell & Manella, Paul Hastings, Winston & Strawn, and Greenberg
Traurig. Sean uses that same skillset to persuade judges, juries
and opposing parties that his own clients’ claims are winners. This
leads to exceptional results.

In one case that appeared to have an insurmountable problem,
Sean was brought in weeks before trial. The client was facing a
fraud claim for failing to disclose a troubling fact before the parties
entered a business deal—that the client had pleaded guilty to drug        • University of Southern California
smuggling and served years in prison. Through a series of focus             (J.D., Order of the Coif, 1992)
groups, Sean developed an approach that turned that troubling fact
in his client’s favor. The jury came back with a fraud verdict, but       • University of Southern California
not against Sean’s client. It was against the other side:                   (M.B.A., Beta Gamma Sigma, 1992)
                                                                          • University of California at
                                                                            Los Angeles (B.S., 1988)




                          “Success is peace of mind, which is a direct result of self-
                           satisfaction in knowing you made the effort to become
                             the best of which you are capable.” – John Wooden




                                                                                                  Who we are | 5
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        Julien Adams
         julien@dovel.com




Julien came to Dovel & Luner after six years as an Assistant
United States Attorney, prosecuting government fraud and public
corruption. As a federal prosecutor, Julien tried 21 jury trials,
won them all, and received commendations from the FBI, IRS, and
NASA.

After more than 25 years as a trial lawyer, Julien has mastered the
art of framing a case to achieve victory. For example, Julien repre-
sented a solo entrepreneur in a multi-million dollar breach of con-
tract case against a Fortune 100 company. Our client claimed the
contract was a two-page document titled “Letter of Intent.” The
defendant asserted there was no contract. Our focus group testing
showed that if jurors were asked to decide whether this document        • Assistant U.S. Attorney
was a binding contract, they would hone in on the title, which said       (1995-2001)
“Letter of Intent,” not “Contract,” and we would lose.
                                                                        • UC Berkeley School of Law
Julien reframed the issue. In his opening statement, he told jurors       (J.D., 1991)
that they needed to decide whether the document was a “binding          • University of Southern California
letter of intent” or a “non-binding letter of intent.” The title          (B.A., 1988)
became irrelevant. While the jury was deliberating, the defendant
capitulated and agreed to a favorable settlement.




                             “The pursuit of truth will set you free; even if you
                                never catch up with it.” – Clarence Darrow




6 | Who we are
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        Jeff Eichmann
         jeff@dovel.com




Early in his career, Jeff was handed an unwinnable case; yet he
found a way to win. He has now done that so many times, it
can’t be luck. He wins by continuously focusing on a case’s big
picture while also mastering the fine details.

In state and federal courts across the country, Jeff has secured
unprecedented trial wins and settlements against the world’s
largest and most sophisticated litigants, including Apple, HP,
Dell, Sprint, and AT&T. In one case against Google, Jeff fought
through layers of defenses and scorched earth tactics. He
dug into Google’s source code and documents and developed
a clear and simple message to describe Google’s wrong-doing
that landed even with skeptical jurors. The result: the largest         • Harvard Law School
verdict ever against Google.                                              (J.D., magna cum laude, 2003)
                                                                        • Georgetown University
                                                                          (B.A., magna cum laude,
                                                                          Phi Beta Kappa, 2000)




                                “If you’re paid before you walk on the court,
                                   what’s the point in playing as if your life
                                       depended on it?” – Arthur Ashe




                                                                                               Who we are | 7
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        Christin Cho
         christin@dovel.com




Christin has amassed a track record of success in all aspects of
high-stakes litigation, from summary judgment motions to jury
trials.

Christin excels at unpacking complex cases, finding a key point of
vulnerability, and then creating a decisive attack on that point.

For example, in a case against a Silicon Valley giant, the
defendant’s key defense hinged on proving that “pattern
matching” meant comparing wireless signal characteristics.
Christin developed a cross-examination of the defendant’s
expert that included a series of simple questions that could only
be answered one way. Christin walked the expert down this              • Law clerk to Ninth Circuit
path, which ultimately led the expert to admit, unambiguously,           Judge J. Clifford Wallace (2006-07)
that the defendant’s key premise was false:
                                                                       • UC Berkeley School of Law
                                                                         (J.D., Order of the Coif, 2005)
                                                                       • Amherst College
                                                                         (B.A., cum laude, 2001)

Victory for our client soon followed.




                                       “Every day that you don’t practice
                                  is a day you’re getting worse.” – Amy Chua




8 | Who we are
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        Rick Lyon
         rick@dovel.com




Rick is a fourth-generation lawyer. He is people savvy and
especially adept at finding concrete details and turns of phrase
that persuade judges and juries to find for our clients.

He is also adept at prevailing for his clients against seemingly
difficult odds. He does this by deeply analyzing arguments,
coming up with answers for all doubts, and crafting briefs and oral
arguments that persuade judges and jurors.

For example, Mirror Worlds, a software startup, had a prior
patent lawsuit against Apple that ended with a judgment of non-
infringement. Then Dovel & Luner took the case. Rick filed a new
lawsuit asserting that Apple continued to infringe the same patent.      • Harvard Law School
Naturally, Apple argued that the new case was barred: Apple’s              (J.D., cum laude, 2003)
products had already been found not to infringe. Rick came
up with a new infringement theory and convinced the district             • Stanford University
court that the earlier judgment did not bar the second lawsuit.            (B.S., 2000)
Even more astounding, Rick persuaded the court that the earlier
judgment did bar Apple’s invalidity defenses. With no invalidity
defense and facing a compelling infringement case, Apple settled
the case on the eve of trial.




                         “Truth, like gold, is to be obtained not by its growth, but by
                           washing away from it all that is not gold.” – Leo Tolstoy




                                                                                                 Who we are | 9
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        Simon Franzini
         simon@dovel.com




Simon excels at accurately analyzing complex facts and tangled
legal issues and turning them into winning trial cases.

For example, our firm was brought in at the last minute to try a
class action case in federal court in Oregon, alleging violations of
consumer protection laws against robocalls. Because the case had
been expected to settle, the deposition testimony was thin and no
experts had been designated. The defendant became convinced it
would win at trial and refused to settle.

Simon dove in and began stitching together evidence that would
prove the case. For example, in the absence of a designated
expert, he came up with a way to have a fact witness summarize
the class-wide database evidence. And he took an old declaration        • Harvard Law School
offered by a defendant witness for a procedural issue, and used           (J.D., magna cum laude, 2012)
it as compelling proof that defendants made millions of illegal         • New York University
telemarketing calls. At trial, Simon delivered the closing argument       (B.A., summa cum laude,
on a Friday morning. That afternoon, the jury came back with a            Phi Beta Kappa, 2009)
verdict:




                          “Practice isn’t the thing you do once you’re good. It’s the
                          thing you do that makes you good.” – Malcolm Gladwell




10 | Who we are
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        Jonas Jacobson
         jonas@dovel.com




Before joining Dovel & Luner, Jonas worked for five years as a
jury consultant, conducting mock trials, witness preparation, and
jury selection in cases ranging from securities fraud to patent
infringement. He joined the firm because he wanted to do more
than give advice to trial attorneys—he wanted to be one.

Since joining the firm, Jonas has excelled as an advocate. In his
first three years, Jonas argued two appeals before the U.S. Court
of Appeals for the Federal Circuit and won both. In another case,
Jonas cross-examined the defendant’s expert witness at trial and
undermined each of the defendant’s arguments. Jonas even got
the expert to admit that one of the expert’s main contentions was
not only a “mistake,” but that he had told the defendant’s lawyers a
                                                                       • Stanford Law School
“month or two” before trial that it “was false:”
                                                                         (J.D., Order of the Coif, 2009)
                                                                       • Stanford University
                                                                         (M.A., psychology, 2009)
                                                                       • Princeton University
                                                                         (B.A., summa cum laude,
                                                                         Phi Beta Kappa, 2005)




                                 “The signal is the truth. The noise is what
                                 distracts us from the truth.” – Nate Silver




                                                                                              Who we are | 11
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What we do




                             We build winning cases.

                   For every client, we build a winning case for trial.
                   Because we build powerful cases, we often force large
                   settlements shortly before or even during trial.

                   In our firm’s 25-year history, we have obtained
                   successful results for our clients in over 250 lawsuits.




                          We work on cases where
                       more than $25 million is at stake.


                             We work on contingency.




12 | What we do
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                             We have expertise in:




Business claims                            Intellectual property
• antitrust                                • trade secret theft
• partnership and joint venture disputes   • patent infringement
• unfair competition                       • copyright infringement
• complex contract disputes                • trademark infringement
• fraud
• breach of fiduciary duty




Bankruptcy claims                          Other high-stakes claims
• contract and business tort claims        • real estate litigation
• claims against directors and officers    • insurance coverage
• preference claims                        • class actions
• fraudulent transfers                     • arbitrations




                                                                      What we do | 13
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How we do it



                    Our firm’s primary advantage is that we are not
                     designed to bill hours, we are Built to Win.




                    You are not going to get exceptional results if you hire
                    a law firm that operates like every other law firm.

                    If you want exceptional results, you need to hire a firm
                    that operates like no other law firm.




14 | How we do it
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           There are eight key elements to our success




1
      Exceptional lawyers




     Building a powerful case requires that each task            Greg Dovel
     and each decision come from an excellent lawyer,
     one with the highest skill levels in analysis, written      Sean Luner
     and oral persuasion, and cross-examination.

     We only have excellent lawyers.                           Jeff Eichmann

     We don’t have a hiring quota for first-year lawyers        Julien Adams
     that we have to fill each year. We only hire when a
     truly gifted lawyer comes along.                              Rick Lyon

                                                                Christin Cho

                                                              Simon Franzini

                                                              Jonas Jacobson




                       “Whether you are comparing arguments, briefs,
                       or lawyers, a single excellent is a heavy favorite
                             against ten ordinaries.” – Sean Luner




                                                                               How we do it | 15
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How we do it


   2
              Deliberate practice




Mastering persuasion requires continuous improvement.
The science of expert performance calls this “deliberate practice.”

Our attorneys regularly engage in deliberate practice
to improve their trial skills. In our Trial Lab, we drill
trial and persuasion fundamentals and experiment with
new techniques. We use practice materials designed
specifically for improving skills, as well as scenarios
taken from our current cases.

For example, before deposing an important
witness, we practice the cross-examination
in our lab. This hones cross-examination
skills. It also allows us to discover new
lines of inquiry and refine our approach
to obtain key admissions that will be
critical to our trial success.




                    “After I’d been a lawyer for 10 years, I was a very good cross-examiner.
                     Ten years after that, after another decade of deliberate practice, I was
                         even better. And today I am achieving my highest skill levels.”
                                                   – Greg Dovel



16 | How we do it
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3
      Experience




                We staff our cases with only partners or with at least
                two partners for every associate.

                As a result, our partners are not insulated from the
                details of the case. They know all the legal and factual
                nuances. They can write a better brief, take a better
                deposition, and make better strategic decisions.

                The average years of experience for lawyers in a typical
                litigation department is 7.1 years. At our firm, the
                average experience is 15.2 years.



                                                                           How we do it | 17
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How we do it


   4
              Principles of persuasion


              We apply principles of persuasion.

              A “principle of persuasion” is a fundamental   We have identified these principles through
              truth with broad application that will         academic and practical research, and we
              eliminate or mitigate doubts, causing the      have refined our understanding of them
              decision-maker (whether judge, jury, or        as trial lawyers and trial consultants. We
              opposing side) to adopt a more favorable       apply them consistently and successfully
              view of your case.                             to build strong settlement positions for our
                                                             clients and to prove their cases at trial.




        Applying principles of persuasion, we achieve extraordinary results:




18 | How we do it
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… including cases where we are brought in a few weeks before trial:




                                                             How we do it | 19
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How we do it


  5
              Killer cross


              For many lawyers, a successful cross-examination makes one or two
              points and avoids causing more harm than good. But that is not enough to
              achieve extraordinary results. Extraordinary results happen when a witness
              unequivocally gives up a key defense or the witness’s credibility is destroyed
              to the extent that everyone in the courtroom knows the witness is lying.

              We achieve extraordinary cross-examinations in every case, in depositions
              and at trial.




20 | How we do it
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 An example:
 In a patent infringement case, defendant Cisco argued that our client’s patent (the
 Katzenberg ‘930 patent) was invalid because it was just an obvious variation of an
 existing Cisco device invented by senior engineer Karl Nakamura.




 On the third day of trial, the defendant called Mr. Nakamura to the stand to
 show how similar his idea was to the Katzenberg ‘930 patent. His testimony was
 persuasive. But then we got a chance to cross-examine him. Fifteen minutes later,
 Mr. Nakamura admitted:




                                    The result:




                                                                                       How we do it | 21
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How we do it


  6
              Winning briefs


              Our briefs directly take on our opponents’ best arguments and destroy
              them with clear, powerful logic.




                                Chief Judge Paul Michel, United States Court of Appeals for the Federal Circuit
                                                 Media Techs. v. Upper Deck Co., 334 F.3d 1366 (Fed. Cir. 2003)




22 | How we do it
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                                        “Beyond Stellar,” Daily Journal, July 23, 2018
                    (quoting former Magistrate Judge in the Eastern District of Texas)




                                                                                         How we do it | 23
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How we do it


    7
              Visual Victory


              In a complex trial, a winning case is built with visuals.

              We design our visuals in-house, so that we can seamlessly integrate our
              graphics with our arguments. Other litigators recognize our skill with visual
              strategies and hire our in-house trial consulting division, Visual Victory, for
              their cases.




24 | How we do it
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8
      Paid only for success


      We structure all of our fee agreements so that we get paid to win cases,
      not to bill hours. We do this because lawyers should be compensated for
      obtaining excellent results for their clients, not merely for billing time.

      We regularly take cases on a full contingency-fee basis, including covering
      all case expenses. We do not represent clients on an hourly-fee basis.




                    “Lawyers with a direct economic incentive to win will
                     deploy a team whose day-to-day focus is on actions
                             that lead to winning.” - Christin Cho




                                                                                    How we do it | 25
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Our reputation

                                 What clients say:




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                      What clients say:




                                                           Our reputation | 27
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Our reputation

                               What colleagues say:




28 | Our reputation
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                    What colleagues say:




                                                           Our reputation | 29
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Our reputation

                                  What jurors say:




30 | Our reputation
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                   What jury experts say:




                                                           Our reputation | 31
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Our reputation

                                               What opponents say:




   Defendant’s closing argument
   Sun Celebrity Holdings v. Celebrity, Inc.




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                    What opponents say:




                                         Defendant’s deposition testimony describing
                                   Dovel & Luner’s closing argument in a previous case




                                                                           Our reputation | 33
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Case studies

                                       A key test of our abilities
                    The acid test for a law firm is whether it can take over a case shortly before
                    trial and win. Can the firm understand the nuances of the case, uncover
                    new insights in the evidence and arguments, develop a solid damages
                    analysis, finish any remaining depositions and expert reports, win the key
                    motions, prepare winning trial examination outlines and visuals, and do so in
                    only a very short period of time?

                    We can.




34 | Case studies
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                                    Case study 1

         The client (CASI) went into bankruptcy. Lockheed sued the client and the
         client responded with its own counterclaims. After intensive litigation, the
         client did not have the money to continue to pursue its claim on an hourly
         basis. The trial was rapidly approaching.




Who do you turn to as trial approaches?




                                                                                        Case studies | 35
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                                                         The Result:




                    “Judges generally take away punitive damages awards.
                    It takes exceptional lawyering for a judge to award
                    punitive damages.”

                    Judge Robert M. Parker,
                    U.S. Court of Appeals for the Fifth Circuit, retired.




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                                                             Case studies | 37
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                                                Case study 2

                    A high-stakes class action case alleging that the defendant violated the
                    Telephone Consumer Protection Act was two months away from trial.



                    Who do you turn to as trial approaches?




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                          The Result:




                                                             Case studies | 39
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        We get excellent results
    If you know of someone with a high value matter who needs elite
        contingency-fee counsel, we would appreciate your referral.
